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                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        TERESA MICHAUD (296329)
                    3   (tmichaud@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    4   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    5   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    6
                        MARK WEINSTEIN (193043)
                        (mweinstein@cooley.com)
                    7
                        KATHLEEN HARTNETT (314267)
                        (khartnett@cooley.com)
                    8
                        JUDD LAUTER (290945)
                        (jlauter@cooley.com)
                    9
                        ELIZABETH L. STAMESHKIN (260865)
                        (lstameshkin@cooley.com)
                   10
                        3175 Hanover Street
                        Palo Alto, CA 94304-1130
                   11
                        Telephone:    (650) 843-5000
                   12   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   13   (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   14   Palo Alto, CA 94304
                        Telephone: (650) 815-4131
                   15
                        [Full Listing on Signature Page]
                   16   Counsel for Defendant Meta Platforms, Inc.
                   17
                                                   UNITED STATES DISTRICT COURT
                   18
                                                NORTHERN DISTRICT OF CALIFORNIA
                   19
                                                        SAN FRANCISCO DIVISION
                   20
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21
                           Individual and Representative Plaintiffs,    ADMINISTRATIVE MOTION TO CONSIDER
                   22                                                   WHETHER ANOTHER PARTY’S MATERIAL
                               v.                                       SHOULD BE SEALED RE META’S
                   23                                                   OPPOSITION TO PLAINTIFFS’
                        META PLATFORMS, INC., a Delaware                SUPPLEMENTAL PRIVILEGE LETTER
                   24   corporation;
                   25                                   Defendant.
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COOLEY LLP
ATTORNEYS AT LAW
                                                                                            ADMIN. MOTION TO SEAL
                                                                                             3:23-CV-03417-VC-TSH
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                    1          Pursuant to Civil Local Rule 79-5(f), Defendant Meta Platforms, Inc. (“Meta”) respectfully

                    2   submits this Administrative Motion To Consider Whether Another Party’s Material Should Be

                    3   Sealed Re Meta’s Opposition To Plaintiffs’ Supplemental Privilege Letter (“Meta’s Letter Brief”)

                    4   and associated materials.

                    5          The following chart lists the documents that consist of or describe Plaintiffs’ privilege logs

                    6   produced in this litigation. As the privilege logs describe and refer to Plaintiffs’ privileged

                    7   communications, the documents below may include information that Plaintiffs believe is

                    8   confidential.

                    9
                         Document                                        Sealing Request
                   10
                         Michaud Declaration                                     Entire document
                   11
                         Exhibit 1 (the JSLF Privilege Log)                      Entire document
                   12
                         Exhibit 2 (the CCMS Privilege Log)                      Entire document
                   13

                   14   A [Proposed] Order is filed concurrently herewith.

                   15          Meta is provisionally filing these materials under seal out of an abundance of caution
                   16
                        based on the potential confidentiality of the information contained in Plaintiffs’ privilege logs.
                   17
                        Accordingly, Meta has filed a public version of Meta’s Letter Brief to the docket via ECF. Meta
                   18
                        has also filed under seal unredacted versions of the Michaud Declaration, Exhibit 1 (the JSLF
                   19
                        Privilege Log), and Exhibit 2 (the CCMS Privilege Log).
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                                                                                                      ADMIN MOTION TO SEAL
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                    1   Dated: December 10, 2024                             COOLEY LLP

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                    3                                                     By: /s/Teresa Michaud
                                                                              Bobby Ghajar
                    4                                                         Philip Morton
                                                                              Mark Weinstein
                    5                                                         Kathleen Hartnett
                                                                              Matthew Brigham
                    6                                                         Judd Lauter
                                                                              Teresa Michaud
                    7                                                         Liz Stameshkin
                                                                              Colette Ghazarian
                    8                                                         Juan Pablo Gonzalez
                                                                              Cole Poppell
                    9
                                                                              LEX LUMINA PLLC
                   10                                                         Mark A. Lemley
                   11                                                         CLEARY GOTTLIEB STEEN &
                                                                              HAMILTON LLP
                   12                                                         Angela L. Dunning
                   13                                                        Attorneys for Defendant
                                                                             META PLATFORMS, INC.
                   14

                   15   Full Counsel List
                   16   COOLEY LLP
                        PHILLIP MORTON (pro hac vice)
                   17   (pmorton@cooley.com)
                        COLE A. POPPELL (pro hac vice)
                   18   (cpoppell@cooley.com)
                        1299 Pennsylvania Avenue, NW, Suite 700
                   19   Washington, DC 20004-2400
                        Telephone:   (202) 842-7800
                   20

                   21   COOLEY LLP
                        MATTHEW BRIGHAM (191428)
                   22   (mbrigham@cooley.com)
                        JUAN PABLO GONZALEZ (334470)
                   23   (jgonzalez@cooley.com)
                        3175 Hanover Street
                   24   Palo Alto, CA 94304-1130
                        Telephone:    (650) 843-5000
                   25
                        LEX LUMINA PLLC
                   26   MARK A. LEMLEY (155830)
                        (mlemley@lex-lumina.com)
                   27   745 Fifth Avenue, Suite 500
                        New York, NY 10151
                   28   Telephone:    (646) 898-2055
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                ADMIN MOTION TO SEAL
   PALO ALTO                                                          2                             3:23-CV-03417-VC
